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|N THE UN|TED STATES DlSTR|CT COURT
FOR THE M|DDLE DlSTR|CT OF PENNSYLVAN|A

CONSUMER F|NANC|AL
PROTECT|ON BUREAU,
P|aintiff,
. 3:17-CV-101
v. : (JUDGE MAR|AN|)

NAV|ENT CORPCRAT|ON, et a|.,
Defendants.
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AND NOW, TH|S q_L_ DAY OF DECEMBER, 2018, upon consideration of the
P|aintist Motion foran En|argement of Time to Comp|ete Discovery (the “Motion”) (Doc.
117), noting Defendants’ non-concurrence therein, and in light of the parties’ upcoming
hearing before the Court on December 10, 2018 at 11:00 am to discuss outstanding
discovery disputes (see Doc. 111), |T |S HEREBY ORDERED THAT the parties should be
ready to present argument on the Motion at the December 10 hearing in addition to the

previous discovery disputes that have been brought to the Court’s attentionl

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R¢ben D. inaer
United States District Judge

 

 

 

